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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                 10/19/2020
JOSE ANTONIO LLUILEMA GARCIA,                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     20-CV-4323 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
FRANCIS GENERAL CONSTRUCTION INC. et al.,                              :     REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment. Any currently scheduled conference

or oral argument before the Court is adjourned pending further order of the Court, but any

conference or oral argument before the Magistrate Judge will proceed as ordered.

        SO ORDERED.

Dated: October 17, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
